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  UNITED STATES DISTRICT COURT                                                        CIVIL CONFERENCE
  EASTERN DISTRICT OF NEW YORK                                                        MINUTE ORDER

  BEFORE:          A. KATHLEEN TOMLINSON                                    DATE:          2-3-2016
                   U.S. MAGISTRATE JUDGE                                    TIME:          11:09 a.m. (49 minutes)

   B ah l v . Ne w Yo rk Co lle g e o f O s te o p ath ic Me d ic in e o f Ne w Yo rk In s titu te o f T e c h n o lo g y
                                        e t al, CV 14-4020(LDW) (AKT)

  TYPE OF CONFERENCE:                           STATUS CONFERENCE

  APPEARANCES:               Plaintiff          Rick Ostrove

                             Defendant          Douglas P. Catalano
                                                Neil G. Sparber (New York College of Osteopathic Medicine
                                                       of New York Institute of Technology)

                                                Ellen Storch (The National Board of Osteopathic
                                                                   Medical Examiners)
  FTR: 11:09-11:58

  SCHEDULING:

           This case is set down for a Telephone Conference on March 10, 2016 at 1:30 p.m. Plaintiff’s
  counsel is requested to initiate the call to Chambers and to use an outside conferencing service so
  that all parties may be heard clearly on the call. All counsel are required to be on a land line for the
  call.

  THE FOLLOWING RULINGS WERE MADE:

           We spent time today discussing issues which have arisen concerning expert discovery as well
  as the procedural posture of this case. Counsel have a number of issues to go back and discuss with
  their clients and with each other. We will reconvene on March 10, 2016 to put the next steps in
  place to move toward the completion of discovery.



                                                                            SO ORDERED

                                                                            /s/ A. Kathleen Tomlinson
                                                                            A. KATHLEEN TOMLINSON
                                                                            U.S. Magistrate Judge
